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                                          U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York

                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                      February 8, 2019

BY ECF

The Honorable Andrew L. Carter, Jr.
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007


           Re:    United States v. Elliot Halberstam, 15 Cr. 825 (ALC)


Dear Judge Carter:

        The Government writes to request that the sentencing hearing in the above-captioned case
be briefly adjourned in order to accommodate the victim’s and his family’s schedule. As the Court
is aware, they have arranged their schedules around each of the previously scheduled sentencing
dates, but they are unable to attend the rescheduled date of February 26, 2019. Accordingly, the
Government requests that sentencing be adjourned to February 28, 2019, to allow the victim and
his family to attend. The Government understands that this is a convenient date for both the Court
and defense counsel.


                                               Respectfully submitted,

                                               GEOFFREY S. BERMAN
                                               United States Attorney


                                         by:
                                               Andrew D. Beaty
                                               Assistant United States Attorney
                                               (212) 637-2198


cc:    Stacey Richman, Esq.
